                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN


DESIGN BASICS LLC, et al. ,
          Plaintiff(s),

       v.                                                    Case No. 14-C-1102

LEXINGTON HOMES INC, et al. ,
          Defendant(s).


                                    SCHEDULING ORDER


       The court held a telephone scheduling conference with the parties' attorneys on January 21,

2015, pursuant to Fed. R. Civ. P. 16 and Civil L.R. 16(a) (E.D. Wis.). Accordingly, the parties shall

comply with the following schedule and procedures.

                                          DISCOVERY

1.     Initial disclosures are to be exchanged in accordance with Fed. R. Civ. P. 26(a)(1) on or

       before February 6, 2015.

2.     Amendments to the pleadings may be filed without leave of court on or before June 1, 2015.

       Fed. R. Civ. P. 15 will apply to any amendment filed after that date.

3.     In accordance with Fed. R. Civ. P. 26, the party bearing the burden of proof’s expert witness

       disclosure is due on or before July 17, 2015, responsive expert witness disclosure is due on

       or before August 17, 2015 and rebuttal expert witness disclosure is due on or before

       September 18, 2015.

4.     All discovery in this case is to be completed no later than October 30, 2015.

5.     Expedited non-dispositive motions must be in compliance with Civil L.R. 7(h).

6.     Counsel seeking non-dispositive procedural relief shall consult with the opposing party and




     Case 1:14-cv-01102-WCG Filed 01/22/15 Page 1 of 3 Document 26
        include in the motion a statement indicating whether or not the motion is opposed.

                             SUMMARY JUDGMENT MOTIONS

7.      Motions for summary judgment must comply with Fed. R. Civ. P. 56 and Civil L.R. 7 and

        shall be served and filed on or before December 7, 2015.

8.      Any summary judgment motion filed against a pro se litigant must comply with Civil L.R.

        56(a).

9.      If one or more parties believe there is a threshold factual issue that could resolve the case

        quickly, this Court has adopted an expedited "fast track" summary judgment procedure.

        Additional information can be found on the court's website at www.wied.uscourts.gov under

        Contact Information/Judges/William C. Griesbach/Special Instructions for Litigants.

                                FINAL PRETRIAL AND TRIAL

10.     A final pretrial will be held on April 1, 2016 at 1:30 p.m. at 125 South Jefferson Street,

        Green Bay, WI 54301, in Room 201. Attorneys for all parties are required to appear in

        person. Parties need not appear, but should be available by telephone.

11.     A jury trial will be held on April 18, 2016 at 8:30 a.m. at 125 South Jefferson Street, Green

        Bay, WI 54301, in Room 201.

                                 ADDITIONAL PROCEDURES

12.     All requests of the court must be made by formal motion in accordance with Civil L.R. 7 and

        the Federal Rules of Civil Procedure.

13.     Courtesy copies of all documents that exceed ten (10) pages in length must be provided to

        the court in paper format.

14.     Counsel are to confer and make a good faith effort to settle the case and explore various


                                                  2



      Case 1:14-cv-01102-WCG Filed 01/22/15 Page 2 of 3 Document 26
        methods of alternate dispute resolution (ADR). The court will refer the case to one of the

        magistrate judges for mediation, at no cost to the parties, when a request is made at least

        ninety (90) days prior to the final pretrial conference.

15.     Settlement discussions must be completed prior to the final pretrial conference. In cases

        where settlement occurs after the final pretrial conference, the court may impose jury-related

        costs, including notification, travel, and attendance fees, upon the responsible attorneys.

16.     The foregoing schedule shall not be modified except upon a showing of good cause and by

        leave of the court. The pendency of motions or settlement discussions shall not justify

        modification of the schedule, nor delay the taking of discovery.

        SO ORDERED this         22nd     day of January, 2015.

                                               s/ William C. Griesbach
                                               William C. Griesbach, Chief Judge
                                               United States District Court




                                                  3



      Case 1:14-cv-01102-WCG Filed 01/22/15 Page 3 of 3 Document 26
